                     Case 2:20-cv-00691-MPK Document 1-3 Filed 05/11/20 Page 1 of 1

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                    Western District
                                                   __________        of Pennsylvania
                                                               District of __________

         General Nutrition Investment Company                       )
                           and                                      )
                  GNC Holdings, Inc.                                )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                         Civil Action No. 2:20-cv-691
                                                                    )
                     Laurel Season, Inc.                            )
                             and                                    )
                        WurtzHealth                                 )
                                                                    )
                           Defendant(s)                             )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) WurtzHealth
                                           1300 209th Street
                                           Bayside, NY 11360




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Mark C. Zheng
                                           Vorys, Sater, Seymour and Pease LLP
                                           500 Grant Street, Suite 4900
                                           Pittsburgh, PA 15219
                                           mczheng@vorys.com
       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


Date:              5/11/2020
                                                                                        Signature of Clerk or Deputy Clerk
